              Case 3:13-cr-04295-JLS Document 29 Filed 03/03/14 PageID.163 Page 1 of 4


     'li>AO 245B (CASD) (Rev. 12ill) Judgment in a Criminal Case
                Sheet I


                                                                                                                                               8:23
                                               UNITED STATES DISTRICT COURTf4~-3
                                                   SOUTHERN DISTRICT OF CALIFORNIA

                     UNITED STATES OF AMERICA 	                                    JUDGMENT IN A CRIMINAL CASE
                                         v.                                        (For Offenses Committed On or After November 1, 1981) ""

                  WILLIAM NICHOLAS BURDINE (2)                                     Case Number: 13CR4295-JLS
                                                                                    DANA M. GRIMES
                                                                                   Defendant's Attorney
    REGISTRATION NO. 41181298
    [3
    THE DEFENDANT: 

    [8J pleaded guilty to count(s) TWO OF THE INFORMATION 

     o    was found guilty on count(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty. 

          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s): 

                                                                                                                                              Count
    Title & Section                           Nature of Offense                                                                             Number(s)
18 USC 545 & 18 USC 2                 IMPROPER IMPORTATION OF MERCHANDISE AND AIDING AND                                                    2
                                      ABETTING




        The defendant is sentenced as provided in pages 2 through _ _..;.4_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s) -------------------------------------
 o    Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                             0      areD dismissed on the motion of the United States.
 [8J Assessment: $100.00 IMPOSED


 [8J Fine waived                                     o Forfeiture pursuant to order filed
                                                                                                --------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 21,2014




                                                                                   TED STATES DISTRICT ruDGE

                                                                                                                                                13CR4295-JLS
            Case 3:13-cr-04295-JLS Document 29 Filed 03/03/14 PageID.164 Page 2 of 4


AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment Page        2    of        4
DEFENDANT: WILLIAM NICHOLAS BURDINE (2)                                                               II
CASE NUMBER: 13CR4295..JLS
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. 

       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis 

       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d). 

       The defendant shall comply with tne requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or 

restitution in accordance with the Schedule of Payments sheet of this judgment. 

        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer; 

  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer; 

  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of thc probation officer; 

  4)     the defendant shall support his or her dependents and meet other family responsibilities; 

  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other 

         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



                                                                                                                                        13CR4295-JLS
                Case 3:13-cr-04295-JLS Document 29 Filed 03/03/14 PageID.165 Page 3 of 4


       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                    Sheet 3 - Special Conditions
                                                                                                       Judgment-Page   ---L-   of _ _4
                                                                                                                                     _ ___

       DEFENDANT: WILLIAM NICHOLAS BURDINE (2)                                                    D
       CASE NUMBER: 13CR4295~JLS




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily retum to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
181 Complete 240 hours of community service as directed by the probation officer.
D Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Comply with the orders and conditions as set forth by the California Board of Pharmacy in regard to licensing and restriction requirements as
    a pharmacist.


181 Be monitored for a period of eight (8) months, with the location monitoring technology at the discretion of the probation officer. The
    offender shall abide by all technology requirements and shall pay all or part of the costs of participation in the location monitoring program,
    as directed by the court and/or the probation officer. In addition to other court-imposed conditions of release; the offender's movement in the
    community shall be restricted as follows: You are restricted to your residence at all times except for employment; education; religious
    services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
    activities as pre-approved by the probation officer (Home Detention).




                                                                                                                                   13CR4295~JLS
            Case 3:13-cr-04295-JLS Document 29 Filed 03/03/14 PageID.166 Page 4 of 4




AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment - Page _ _4__ of        4

DEFENDANT: WILLIAM NICHOLAS BURDINE (2)                                                       II
CASE NUMBER: 13CR4295-JLS

                                                          RESTITUTION

The defendant shall pay restitution in the amount of ___$_1_,0_04_,2_8_2_.04
                                                                         _ _ _ unto the United States of America.




          This sum shall be paid __ immediately. 

                                  K as follows: 

           Pay restitution in the amount of$ 1,004,282.04, through the Clerk, U.S. District Court. Payment of restitution shall be
           forthwith to the Center for Medicare and Medicaid Services, Division of Accounting Operations, 7500 Security
           Boulevard, Mailstop C3-11-03, Baltimore, MD 21244. The defendant shall pay the restitution during its probation at the
           rate of $2,500.00 per month. These payment schedules do not foreclose the United States from exercising all legal
           actions, remedies, and process available to it to collect the restitution judgment.

           Defendant shall be jointly and severally liable to pay restitution with co-defendant Alvarado Medical Plaza Pharmacy,
           Inc., for the same losses.

           Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office of
           any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.




      The Court has determined that the defendant      does not      have the ability to pay interest. It is ordered that:

    )(       The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    I3CR4295-JLS
